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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA


                                       CIVIL MINUTES – GENERAL

 Case No.     LA CV21-05100 JAK (KSx)                                            Date        October 13, 2021
 Title        ZAG America, LLC v. Andriy Harasymets




 Present: The Honorable            JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                    T. Jackson                                                Not Reported
                   Deputy Clerk                                       Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                     Not Present                                               Not Present


 Proceedings:             (IN CHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR LACK
                          OF PROSECUTION RE ANDRIY HARASYMETS

The Court, on its own motion, orders Plaintiff to show cause in writing no later than October 20, 2021
why this action should not be dismissed for lack of prosecution regarding overdue responses, as to
Andriy Harasymets Pursuant to Rule 55 of the Federal Rules of Civil Procedure, Plaintiff shall file an
application requesting the entry of default. Plaintiff is advised that the Court will consider the filing of an
application, which complies with the federal rules, on or before the date upon which the response is
due, as a satisfactory response to the Order to Show Cause. The Order to Show Cause will stand
submitted upon the filing of an appropriate response. No oral argument will be heard unless otherwise
ordered by the Court. Failure to respond will result in the dismissal of this matter.


IT IS SO ORDERED.




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                                                              Initials of Preparer      TJ




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